            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                   Document 43-1      SummaryFiled  01/22/25 Page 1 of 20 PageID
                                                                                     - MyCase
                                                                    #:  2050
               This is not the official court record. Official records of court proceedings may only be obtained directly from
               the court maintaining a particular record.


   State V Ryan Mcmullen
    Case Number                               27D01-0904-FA-000134

    Court                                     Grant Superior Court 1

    Type                                      FA - Class A Felony

    Filed                                     05/04/2009

    Status                                    12/28/2023 , Pending (active)

    Reference                                 Original County Cause Number
                                                      C109FA134
                                                      D109FA134

    Related                                   Other
                                                      27C01-1112-PC-000009

                                              Lower Trial Court Case
                                                      25A-CR-00116


   Parties to the Case
   Defendant      McMullen, Ryan Tyrone
       Address
       410 Greentree Dr
       Marion, IN 46952

       Attorney
       Katrina Marie Lynn
       #3468485, Public Defender

       102 S. Wabash Street
       Wabash, IN 46992
       260-563-8020(W)

   State          State of Indiana
   Plaintiff
       Attorney
       Jamie L. Moore
       #3039327

       101 East Fourth Street
       Room 107
       Marion, IN 46952
       765-664-0739(W)

   Probation      Grant County Probation
   Department
       Address
       401 S Adams ST
       FL 4th
       Marion, IN 46952

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…   1/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                       Page 2 of 20 PageID
   Charges                                                  #: 2051
    01 05/04/2009 POSSESSION OF COCAINE- A Person Who Knowingly Or Intentionally Posses Cocaine In An
                      Amount More Tha
       Statute
                 35-48-4-6(b)(3)(B)(iii)
       Degree
                 FA

    02 05/04/2009 DEALING IN COCAINE- A Person Who Did Knowingly Deliver Cocaine

       Statute
                 35-48-4-1(a)
       Degree
                 FB

    03 05/04/2009 NEGLECT OF A DEPENDENT- A Person Who Knowingly Place Dependent I Situatuion That
                      Endagered Dependen
       Statute
                 35-46-1-4(b)(1)(B)(i)
       Degree
                 FC

    04 05/04/2009 POSSESSION OF COCAINE- A Person Who Knowingly Or Intentionally Possess Cocaine Over 3
                      Grams Or More
       Statute
                 35-48-4-6(a)&(b)(1)(A)
       Degree
                 FC

    05 05/04/2009 POSSESSION OF MARIJUANA

       Statute
                 35-48-4-11(1)
       Degree
                 FD

    06 05/04/2009 HABITUAL OFFENDER

       Statute
                 35-50-2-8(a)
       Degree
                 CNV


   Chronological Case Summary
    05/04/2009   Converted Event
                 Grant Co. Prosecutor files appearance on behalf of State. Affidavit for Probable Cause filed and approved per order
                 entered. Information for Counts 1, 2, 3, 4, 5, and 6 filed. Warrant issued. Bond $100,000 cash, surety, or property. rmh
                 (RJO? Y) | JTS Minute Entry Date: 2009-05-04


    05/11/2009   Converted Event
                 Order to Transport entered for initial hearing of June 5, 2009, at 9:00 a.m. Faxed to Grant Co. Jail. rmh (RJO? Y) | JTS
                 Minute Entry Date: 2009-05-11




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…            2/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                       Page 3 of 20 PageID
                                                            #: 2052
    06/02/2009   Converted Event
                 Defendant, pro se, files Motion for Discovery Order. Court notes Defendant has not been initialed on this cause as of
                 this date. Initial hearing set for 6/5/09. rmh (RJO? N) | JTS Minute Entry Date: 2009-06-02


    06/05/2009   Indigent Counsel Appointed at County Expense
                 Initial hearing held and order entered. Court appoints Craig Persinger. Pre-trial set for September 2, 2009, at 9:00 a.m.
                 Trial set for October 13, 2009, at 9:00 a.m. Omnibus date 8/5/09. rmh (RJO? Y) | JTS Minute Entry Date: 2009-06-05


    06/05/2009   Converted Event
                 Arrest warrant filed showing served. tb (RJO? N) | JTS Minute Entry Date: 2009-06-05


    06/10/2009   Converted Event
                 Appearance of Attorney Craig Persinger filed on behalf of Defendant, together with Motion for Discovery. rmh (RJO? N)
                 | JTS Minute Entry Date: 2009-06-10


    06/30/2009   Converted Event
                 State files Notice of Discovery Compliance and Motion for Discovery. rmh (RJO? N) | JTS Minute Entry Date: 2009-06-30


    07/31/2009   Converted Event
                 7/30/09: Defendant, by counsel, files Motion for Bond Reduction Hearing. Court sets hearing for August 21, 2009, at
                 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2009-07-31


    08/12/2009   Converted Event
                 Surety bond posted by Abbott's Bail Bonds. rmh (RJO? N) | JTS Minute Entry Date: 2009-08-12


    08/12/2009   Converted Event
                 Court is notified that Defendant has bonded. Bond reduction hearing removed from court's calendar. rmh (RJO? N) |
                 JTS Minute Entry Date: 2009-08-12


    08/12/2009   Converted Event
                 Bond cash received of $5.00. dw (RJO? N) | JTS Minute Entry Date: 2009-08-12


    09/02/2009   Converted Event
                 Parties appear for pre-trial conference. Counsel for Defendant files Motion for Continuance of Trial. State does not
                 object. Order entered resetting trial for January 18, 2010 at 9:00 a.m. Pre-trial conference set for January 6, 2010 at
                 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2009-09-02


    11/02/2009   Converted Event
                 Due to January 18, 2010 being a holiday, the Court now moves jury trial in this cause to January 19, 2010 at 9:00 a.m.
                 rmh (RJO? N) | JTS Minute Entry Date: 2009-11-02


    11/06/2009   Converted Event
                 11/5/09: State files Motion to Revoke Bail. Hearing set for November 13, 2009, at 9:00 a.m. rmh (RJO? N) | JTS Minute
                 Entry Date: 2009-11-06


    11/12/2009   Converted Event
                 Court appoints C. Robert Rittman. rmh (RJO? N) | JTS Minute Entry Date: 2009-11-12


    11/13/2009   Converted Event
                 Parties appear for hearing on state's motion for revocation of bond. Counsel requests continuance. Court resets for
                 November 20, 2009, at 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2009-11-13




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…             3/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                  Document 43-1   Filed
                                                                   Summary      01/22/25
                                                                           - MyCase                       Page 4 of 20 PageID
                                                             #: 2053
    11/20/2009   Converted Event
                 Due to Court congestion in State v. Cruz, the Court resets hearing regarding bond revocation for December 4, 2009, at
                 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2009-11-20


    11/25/2009   Converted Event
                 11/24/09: Public defender appearance of Attorney Rittman filed on behalf of Defendant. rmh (RJO? N) | JTS Minute
                 Entry Date: 2009-11-25


    12/04/2009   Converted Event
                 Calendar :MISC. MOTIONS


    12/07/2009   Converted Event
                 12/4/09: Parties appear for hearing on State's Motion to Revoke Bond. Argument heard. Court now grants State's
                 Motion. Bond ordered revoked in this cause. rmh (RJO? N) | JTS Minute Entry Date: 2009-12-07


    12/22/2009   Converted Event
                 12/21/09: Information for Counts 7, 8 and 9 filed. rmh (RJO? N) | JTS Minute Entry Date: 2009-12-22


    12/23/2009   Converted Event
                 Initial hearing held on Counts 7, 8, and 9. Attorney Rittman waives formal initial hearing. rmh (RJO? N) | JTS Minute
                 Entry Date: 2009-12-23


    01/06/2010   Converted Event
                 Pre-trial conference held and order entered. Parties agree to continue trial to February 16, 2010 at 9:00 a.m. as first
                 setting. rmh (RJO? Y) | JTS Minute Entry Date: 2010-01-06


    01/22/2010   Converted Event
                 1/21/10: State files notice of supplemental discovery compliance and motion for discovery. rmh (RJO? N) | JTS Minute
                 Entry Date: 2010-01-22


    01/25/2010   Converted Event
                 Subpoena issued to Mike Spaulding filed showing copy service on 1/21/10. tb (RJO? N) | JTS Minute Entry Date: 2010-
                 01-25


    01/26/2010   Converted Event
                 Parties request to have a Pre-Trial set in this matter; Hearing is set for January 29, 2010, at 9:00 a.m. sd (RJO? N) | JTS
                 Minute Entry Date: 2010-01-26


    01/28/2010   Converted Event
                 Defendant, by counsel, files Motion to Sever Counts 7, 8, and 9, Motion in Limine and Motion to Suppress Evidence.
                 rmh (RJO? N) | JTS Minute Entry Date: 2010-01-28


    01/29/2010   Converted Event
                 Calendar :PRE-TRIAL CONFERENCE


    02/01/2010   Converted Event
                 Defendant, by counsel, files Motion to Continue trial set for 2/16/10. Order entered resetting trial for May 24, 2010 at
                 9:00 a.m. Pre-trial set for May 5, 2010 at 9:00 a.m. Hearing on Defendant's Motion to Suppress set for May 18, 2010 at
                 2:00 p.m. rmh (RJO? N) | JTS Minute Entry Date: 2010-02-01




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…               4/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                       Page 5 of 20 PageID
                                                            #: 2054
    02/01/2010   Converted Event
                 1/29/10: Parties appear for pre-trial conference and hearing on defendant's motion in limine and motion to sever
                 counts 7, 8, and 9. Court grants defendant's motion in limine and motion to sever counts 7, 8 and 9. Court sets
                 hearing on Defendant's motion for suppression for February 9, 2010 at 2:00 p.m. rmh (RJO? N) | JTS Minute Entry
                 Date: 2010-02-01


    02/02/2010   Converted Event
                 Entry of 2/1/10 removed from this docket. As of 2/1/10: Defendant, by counsel, files Motion to Continue trial. State
                 objects. Court sets hearing on State's objection for February 3, 2010 at 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date:
                 2010-02-02


    02/03/2010   Converted Event
                 Parties appear for hearing on State's objection to Defendant's motion for continuance. Evidence and argument heard.
                 Court grants Defendant's Motion for Continuance of Trial. Trial reset for May 24, 2010 at 9:00 a.m. Pre-trial reset for
                 May 5, 2010 at 9:00 a.m. Hearing on Defendant's Motion to Suppress set for May 18, 2010 at 9:00 a.m. rmh (RJO? N) |
                 JTS Minute Entry Date: 2010-02-03


    02/03/2010   Converted Event
                 Calendar :MISC. MOTIONS


    02/09/2010   Converted Event
                 2/8/10: Appearance of Attorney Joe Keith Lewis filed on behalf of Defendant, together with Motion to Produce
                 Evidence. rmh (RJO? N) | JTS Minute Entry Date: 2010-02-09


    02/10/2010   Converted Event
                 State previously provided discovery materials in the above cause. State requests that the Court order said materials
                 turned over to Attorney Joe Keith Lewis. Approved. rmh (RJO? N) | JTS Minute Entry Date: 2010-02-10


    02/12/2010   Converted Event
                 2/11/10: Attorney C. Robert Rittman files Motion to Withdraw Appearance as counsel for Defendant. Order entered.
                 rmh (RJO? Y) | JTS Minute Entry Date: 2010-02-12


    05/05/2010   Converted Event
                 Defendant, by counsel, files a Motion for Transport Order. Order entered. Grant County Sheriff is transport the
                 Defendant to The Office, at 301 S. Adams St., Marion, IN 46952, for a deposition on May 6, 2010, at 9:00 a.m. sd (RJO?
                 Y) | JTS Minute Entry Date: 2010-05-05


    05/05/2010   Converted Event
                 Calendar :PRE-TRIAL CONFERENCE


    05/13/2010   Converted Event
                 5/12/10: State files Notice of Discovery Compliance. rmh (RJO? N) | JTS Minute Entry Date: 2010-05-13


    05/18/2010   Converted Event
                 5/15/10: Defendant, by counsel, files motion for continuance of trial. State does not object. Order entered resetting
                 trial for August 9, 2010 at 9:00 a.m. Pre-trial set for July 7, 2010 at 9:00 a.m. Hearing on Defendant's motion to
                 suppress set for June 30, 2010 at 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2010-05-18


    06/09/2010   Converted Event
                 6/8/10: First Amended Motion to Suppress Evidence. Hearing remains set for June 30, 2010 at 9:00 a.m. rmh (RJO? N) |
                 JTS Minute Entry Date: 2010-06-09



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…            5/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                      Page 6 of 20 PageID
                                                            #: 2055
    06/30/2010   Converted Event
                 Parties appear for suppression hearing and agree to continue hearing to July 30, 2010 at 2:30 p.m. rmh (RJO? N) | JTS
                 Minute Entry Date: 2010-06-30


    07/07/2010   Converted Event
                 Pre-trial conference held and order entered. Trial remains set for August 9, 2010 at 9:00 a.m. rmh (RJO? Y) | JTS Minute
                 Entry Date: 2010-07-07


    07/16/2010   Converted Event
                 7/15/10: Defendant, by counsel, files Motion for Transport Order. rmh (RJO? N) | JTS Minute Entry Date: 2010-07-16


    07/16/2010   Converted Event
                 Counsel for defendant cancels motion for transport. They will conduct deposition out of presence of Defendant. rmh
                 (RJO? N) | JTS Minute Entry Date: 2010-07-16


    07/22/2010   Converted Event
                 Subpoena Duces Tecum issued to American Pest Control filed showing personal service on 7/21/10. tb Subpoena
                 Duces Tecum issued to Julie Taylor filed showing copy and mailing service on 7/21/10. tb (RJO? N) | JTS Minute Entry
                 Date: 2010-07-22


    07/22/2010   Converted Event
                 7/20/10: Defendant, by counsel, issues Subpoena Duces Tecum to American Pest Professional and Julie Taylor. rmh
                 (RJO? N) | JTS Minute Entry Date: 2010-07-22


    07/29/2010   Converted Event
                 State files Notice of Intent to Use 404(b) Evidence, to be heard on July 30, 2010 at 2:30 p.m. rmh (RJO? N) | JTS Minute
                 Entry Date: 2010-07-29


    07/29/2010   Converted Event
                 7/28/10: Defendant, by counsel, files Second Amended Motion to Suppress Evidence, to be heard on July 30, 2010.
                 State files Amended Count 2. rmh (RJO? N) | JTS Minute Entry Date: 2010-07-29


    07/30/2010   Converted Event
                 Parties agree to continue hearing on motion to suppress to August 4, 2010 at 11:00 a.m. rmh (RJO? N) | JTS Minute
                 Entry Date: 2010-07-30


    08/03/2010   Converted Event
                 Subpoenas issued to Mike Andry and Marland Sands filed showing personal service on 7/29/10. tb (RJO? N) | JTS
                 Minute Entry Date: 2010-08-03


    08/04/2010   Converted Event
                 Calendar :MISC. MOTIONS


    08/05/2010   Converted Event
                 Defendant, by counsel, files Notice of Discovery Compliance and Jury Instructions. Subpoenas issued to Steven Gause
                 and Julie Taylor. rmh (RJO? N) | JTS Minute Entry Date: 2010-08-05


    08/05/2010   Converted Event
                 8/4/10: Parties appear for hearing on pending motions. Court takes under advisement. rmh (RJO? N) | JTS Minute
                 Entry Date: 2010-08-05




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…            6/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                  Document 43-1   Filed
                                                                   Summary      01/22/25
                                                                           - MyCase                        Page 7 of 20 PageID
                                                             #: 2056
    08/06/2010   Converted Event
                 Subpoena issued to Brad Kochanek filed showing copy service on 8/5/10. tb (RJO? N) | JTS Minute Entry Date: 2010-08-
                 06


    08/09/2010   Converted Event
                 Order on Motion to Suppress and 404(b) Notice. Defendants' Motion to Suppress is denied. State is permitted to
                 introduce evidence identified in its 404(B) notice, subject to limitations outlined in order. rmh (RJO? Y) | JTS Minute
                 Entry Date: 2010-08-09


    08/09/2010   Converted Event
                 Calendar :JURY TRIAL


    08/10/2010   Converted Event
                 Subpoena issued to Jasmine Davis by defense. rmh (RJO? N) | JTS Minute Entry Date: 2010-08-10


    08/12/2010   Converted Event
                 Subpoena issued to Steven Gause filed, showing mailing and copy service on 8/12/10. sd (RJO? N) | JTS Minute Entry
                 Date: 2010-08-12


    08/23/2010   Converted Event
                 8/20/10: Defendant, pro se, files Motion for Certification of Interlocutory Order. Copy forwarded to Attorney Lewis.
                 rmh (RJO? N) | JTS Minute Entry Date: 2010-08-23


    08/23/2010   Converted Event
                 8/11/10: Trial continues. State continues with evidence and concludes. Trial recessed until 8/12/10. rmh (RJO? N) | JTS
                 Minute Entry Date: 2010-08-23


    08/23/2010   Converted Event
                 8/9/10: Voir dire begins. Jury selected. Preliminary instructions filed. State begins with evidence. Trial recessed until
                 8/10/10. rmh (RJO? N) | JTS Minute Entry Date: 2010-08-23


    08/23/2010   Converted Event
                 8/10/10: Trial continues. Court recesses until 8/11/10. rmh (RJO? N) | JTS Minute Entry Date: 2010-08-23


    08/23/2010   Converted Event
                 8/12/10: Trial continues. Defendant presents evidence and rests. Juror questions 1 and 2 filed. State and defendant
                 tender instruction. Court does not give. Final instructions filed. Jury returns with guilty verdicts on counts 1, 3, and 4.
                 State orally dismisses count 2. Defendant will waive bifurcated trial on count 5. Record of Jury Trial Proceedings filed.
                 Judgment on Verdict entered. PSI ordered. Sentencing set for September 10, 2010 at 8:30 a.m. rmh (RJO? N) | JTS
                 Minute Entry Date: 2010-08-23


    09/01/2010   Converted Event
                 Defendant, by counsel, files a Motion Withdraw Pro Se Motions. sd (RJO? N) | JTS Minute Entry Date: 2010-09-01


    09/02/2010   Converted Event
                 As of 9/1/10: Order on Motion to Withdraw Pro Se Motions entered. It is therefore ordered that the pro se Motion for
                 Certification of Interlocutory Order and Motion to Dismiss for an Illegal Search Seized is hereby withdrawn. sd (RJO? Y)
                 | JTS Minute Entry Date: 2010-09-02


    09/09/2010   Converted Event
                 9/8/10: Pre-sentence investigation report filed. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-09




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…               7/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                       Page 8 of 20 PageID
                                                            #: 2057
    09/10/2010   Converted Event
                 Calendar :SENTENCING


    09/14/2010       Converted Event
                 9/10/10: Parties appear for sentencing. Order of Sentence entered. Defendant sentenced to 50 years on Count 1 and 3
                 years on Count 4, concurrent with each other. Count 2 was dismissed prior to trial and counts 3, 4, and 5 were
                 renumbered for purposes of trial. Count 6 was dismissed. Abstract of Judgment entered. rmh (DISPOSED: JT ) (RJO? Y)
                 | JTS Minute Entry Date: 2010-09-14


    09/14/2010   Judgment
                 Conversion

                 01. POSSESSION OF COCAINE- A Person Who Knowingly Or Intentionally Posses Cocaine In An Amount More Tha
                     • Conversion Unknown

    09/14/2010   Judgment
                 Conversion

                 02. DEALING IN COCAINE- A Person Who Did Knowingly Deliver Cocaine
                     • Conversion Unknown

    09/14/2010   Judgment
                 Conversion

                 03. NEGLECT OF A DEPENDENT- A Person Who Knowingly Place Dependent I Situatuion That Endagered Dependen
                     • Dismissed

    09/14/2010   Judgment
                 Conversion

                 04. POSSESSION OF COCAINE- A Person Who Knowingly Or Intentionally Possess Cocaine Over 3 Grams Or More
                     • Conversion Unknown

    09/14/2010   Judgment
                 Conversion

                 05. POSSESSION OF MARIJUANA
                     • Dismissed

    09/14/2010   Judgment
                 Conversion

                 06. HABITUAL OFFENDER
                     • Dismissed

    09/15/2010   Converted Event
                 Sent to Sheriff certified copies of Order of Sentence, Abstract of Judgment, PSI, Criminal Information, Affidavit for
                 Probable Cause, and CCS. dmc (RJO? N) | JTS Minute Entry Date: 2010-09-15


    09/27/2010   Indigent Counsel Appointed at County Expense
                 Comes now the court and appoints C. Robert Rittman for appeal purposes only. rmh (RJO? N) | JTS Minute Entry Date:
                 2010-09-27


    09/27/2010   Converted Event
                 Defendant, pro se, files correspondence. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-27


    09/28/2010   Converted Event
                 9/27/10: Correspondence filed by defendant, pro se. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-28


https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…         8/20
            Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                  Summary      01/22/25
                                                                          - MyCase                       Page 9 of 20 PageID
                                                            #: 2058
    09/28/2010   Converted Event
                 E-mail to counsel and state regarding new trial date filed. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-28


    09/29/2010   Converted Event
                 Notice of Appeal from Trial Court filed. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-29


    09/30/2010   Converted Event
                 9/28/10: Defendant, pro se, files correspondence. rmh (RJO? N) | JTS Minute Entry Date: 2010-09-30


    10/27/2010   Converted Event
                 As of 5/5/10: Pre-trial conference held and order entered. rmh (RJO? N) | JTS Minute Entry Date: 2010-10-27


    10/27/2010   Converted Event
                 Sent Notice of Completion of Clerk's Record to Clerk of Supreme Court and all interested parties. dmc (RJO? N) | JTS
                 Minute Entry Date: 2010-10-27


    11/01/2010   Converted Event
                 Certified mail receipt filed showing service on Clerk Supreme Court on 10/28/10, signed for by A Smith. tb (RJO? N) |
                 JTS Minute Entry Date: 2010-11-01


    11/03/2010   Converted Event
                 Defendant, pro se, files Appellant's Verified Motion for an Order Compelling Court Reporter to File Transcript with Trial
                 Court Clerk. rmh (RJO? N) | JTS Minute Entry Date: 2010-11-03


    12/23/2010   Converted Event
                 12/22/10: Defendant, by counsel, files Petition for Ex Parte Determination. Order on Defendant's Petition for Ex Parte
                 Determination entered. Defendant is indigent and C. Robert Rittman is appointed counsel. rmh (RJO? Y) | JTS Minute
                 Entry Date: 2010-12-23


    12/23/2010   Converted Event
                 12/22/10: Correspondence filed by defendant, pro se. rmh (RJO? N) | JTS Minute Entry Date: 2010-12-23


    12/28/2010   Converted Event
                 Notice of Filing of Transcript filed. tb (RJO? N) | JTS Minute Entry Date: 2010-12-28


    12/28/2010   Converted Event
                 Sent Notice of Completion of Transcript to Clerk of Supreme Court and all interested parties. dmc (RJO? N) | JTS
                 Minute Entry Date: 2010-12-28


    12/28/2010   Converted Event
                 Calendar


    01/07/2011   Converted Event
                 Certified mail receipt filed showing service on Clerk of the Court of Appeals on 1/3/11, signed for by Janell Smiley. tb
                 (RJO? N) | JTS Minute Entry Date: 2011-01-07


    03/02/2011   Converted Event
                 Mailed transcripts to Clerk of Supreme Court of Appeals. dmc (RJO? N) | JTS Minute Entry Date: 2011-03-02


    03/03/2011   Converted Event
                 Defendant, by counsel, files Motion to Reveal Agreements Entered into Between teh State and Prosecution Witnesses.
                 rmh (RJO? N) | JTS Minute Entry Date: 2011-03-03



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1bW…             9/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                Document 43-1   Filed
                                                                  Summary     01/22/25
                                                                          - MyCase                     Page 10 of 20 PageID
                                                            #: 2059
    03/07/2011   Converted Event
                 Hearing on defendant's motion to reveal agreements is set for March 17, 2011 at 8:30 a.m. rmh (RJO? N) | JTS Minute
                 Entry Date: 2011-03-07


    03/07/2011   Converted Event
                 Jury trial set for March 28, 2011 at 9:00 a.m. rmh (RJO? N) | JTS Minute Entry Date: 2011-03-07


    03/09/2011   Converted Event
                 Certified mail receipt filed showing service on Clerk Supreme Court on 3/4/11. tb (RJO? N) | JTS Minute Entry Date:
                 2011-03-09


    03/15/2011   Converted Event
                 Defendant, by counsel, Joe Keith Lewis, files motino for continuance and motion for withdraw of appearance as
                 counsel for defendant. rmh (RJO? N) | JTS Minute Entry Date: 2011-03-15


    03/16/2011   Converted Event
                 3/15/11: Order granting continuance entered and order on motion to withdraw Attorney Joe Keith Lewis' appearance
                 as counsel for defendant is entered. Court appoints C. Robert Rittman. Trial is reset for August 8, 2011 at 9:00 a.m.
                 Pre-trial set for July 6, 2011 at 9:00 a.m. Hearing on Defendant's motion to reveal witnesses removed from court's
                 calendar. rmh (RJO? N) | JTS Minute Entry Date: 2011-03-16


    03/18/2011   Converted Event
                 3/17/11: Public defender's appearance of Attorney C. Robert Rittman filed on behalf of Defendant, together with
                 motion for discovery. rmh (RJO? N) | JTS Minute Entry Date: 2011-03-18


    06/24/2011   Converted Event
                 Court of Appeals files memorandum decision affirming trial court's decision. rmh (RJO? N) | JTS Minute Entry Date:
                 2011-06-24


    07/06/2011   Converted Event
                 Calendar :PRE-TRIAL CONFERENCE


    07/20/2011   Converted Event
                 Plea agreement filed. rmh (RJO? N) | JTS Minute Entry Date: 2011-07-20


    07/28/2011   Converted Event
                 Parties appear in Superior Court 1 for guilty plea hearing. Counts 7, 8 and 9 are dismissed. Defendant is to serve
                 already imposed sentence, consecutive to 27C01-0910-FA-232. Order on Guilty Plea Hearing and Sentencing entered.
                 rmh (RJO? Y) | JTS Minute Entry Date: 2011-07-21


    08/12/2011   Converted Event
                 Pre-trial conference held and order entered. rmh (RJO? Y) | JTS Minute Entry Date: 2011-07-06


    09/06/2011   Converted Event
                 Court of appeals files notice denying defendant's petition to transfer jurisdiction. rmh (RJO? N) | JTS Minute Entry Date:
                 2011-09-06


    09/13/2011   Converted Event
                 Court of Appeals files memorandum decision concurring with trial court's decision. r mh (RJO? N) | JTS Minute Entry
                 Date: 2011-09-12




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…           10/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                   Summary     01/22/25
                                                                           - MyCase                    Page 11 of 20 PageID
                                                             #: 2060
    12/12/2011   Converted Event
                 Order appointing State Public Defender entered. rmh (RJO? Y) | JTS Minute Entry Date: 2011-12-12


    12/12/2011   Converted Event
                 Defendant, pro se, files Verified Petition for Post Conviction Relief. rmh (RJO? N) | JTS Minute Entry Date: 2011-12-07


    12/14/2011   Converted Event
                 Sent Order and copy of Post Conviction Relief to State Public Defender. dmc (RJO? N) | JTS Minute Entry Date: 2011-12-
                 14


    01/10/2012   Converted Event
                 Mailed requested documents to Public Defender's Office. dmc (RJO? N) | JTS Minute Entry Date: 2012-01-10


    01/10/2012   Converted Event
                 Appearance of Attorney Linda Nicholson from the State Public Defender filed on behalf of Defendant. rmh (RJO? N) |
                 JTS Minute Entry Date: 2012-01-09


    09/16/2013   Motion to Withdraw Appearance Filed
                 Filed By:                      Nicholson, Linda Gail
                 File Stamp:                    09/13/2013

    09/16/2013   Order Granting Motion to Withdraw Appearance
                 Judicial Officer:              Spitzer, Mark E
                 Order Signed:                  09/16/2013

    09/17/2013   ENotice Issued to Parties
                 Parties:                       Myers, William Thomas

    03/13/2017        Motion Filed
                 Motion for Modification of Sentence

                 Filed By:                      McMullen, Ryan Tyrone
                 File Stamp:                    03/11/2017

    03/14/2017   Automated ENotice Issued to Parties
                 Motion Filed ---- 3/13/2017 : Grant County Probation;William Thomas Myers;Lisa Malmer Johnson


    03/20/2017        Order Issued
                 on hearing for motion for modification.

                 Order Signed:                  03/20/2017

    03/21/2017   Automated ENotice Issued to Parties
                 Order Issued ---- 3/20/2017 : Grant County Probation;William Thomas Myers;Lisa Malmer Johnson


    07/31/2017        Correspondence to/from Court Filed
                 Denial of Request

                 Filed By:                      Grant County Probation
                 File Stamp:                    07/28/2017

    07/31/2017   Correspondence to/from Court Filed
                 Correspondence tendered by Defendant. er

                 File Stamp:                    07/31/2017




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…            11/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD          Document 43-1         Filed
                                                                Summary      01/22/25
                                                                         - MyCase                     Page 12 of 20 PageID
                                                         #: 2061
    10/31/2017       Order Denying Petition for Post Conviction Relief
                 Defendant's Post-Conviction Relief is denied and Defendant's Motion for Modification of Sentence is denied.

                 Order Signed:                  10/31/2017

    11/01/2017   Automated ENotice Issued to Parties
                 Order Denying Petition for Post Conviction Relief ---- 10/31/2017 : Grant County Probation;William Thomas Myers;Lisa
                 Malmer Johnson


    10/19/2018       Correspondence to/from Court Filed
                 Filed by defendant, pro se.

                 File Stamp:                    10/18/2018

    10/20/2018   Automated ENotice Issued to Parties
                 Correspondence to/from Court Filed ---- 10/19/2018 : Grant County Probation;William Thomas Myers;Lisa Malmer
                 Johnson


    11/20/2020       Appearance Filed
                 Appearance

                 For Party:                     McMullen, Ryan Tyrone
                 File Stamp:                    11/19/2020

    11/20/2020       Motion to Modify Sentence Filed
                 Defendant's Renewed Motion for Modification of Sentence

                 Filed By:                      McMullen, Ryan Tyrone
                 File Stamp:                    11/19/2020

    11/21/2020   Automated ENotice Issued to Parties
                 Appearance Filed ---- 11/20/2020 : Grant County Probation;William Thomas Myers;Lisa Malmer Johnson Motion to
                 Modify Sentence Filed ---- 11/20/2020 : Grant County Probation;William Thomas Myers;Lisa Malmer Johnson


    12/07/2020   Hearing Scheduling Activity
                 Pretrial Conference scheduled for 01/06/2021 at 9:00 AM.


    12/08/2020   Automated ENotice Issued to Parties
                 Hearing Scheduling Activity ---- 12/7/2020 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    12/29/2020       Motion Filed
                 Motion for Remote/Telephonic PTC

                 Filed By:                      McMullen, Ryan Tyrone
                 File Stamp:                    12/29/2020

    12/30/2020   Automated ENotice Issued to Parties
                 Motion Filed ---- 12/29/2020 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    01/06/2021       Motion for Continuance Filed
                 Joint Notice to Court and Motion to Reset PTC

                 Filed By:                      McMullen, Ryan Tyrone
                 Filed By:                      State of Indiana
                 File Stamp:                    01/05/2021

    01/07/2021   Automated ENotice Issued to Parties
                 Motion for Continuance Filed ---- 1/6/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…         12/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                   Summary     01/22/25
                                                                           - MyCase                      Page 13 of 20 PageID
                                                             #: 2062
    01/08/2021       Order Issued
                 Telephonic pretrial conference set for February 3, 2021, at 1:30 p.m. and progress report to be ordered.

                 Order Signed:                    01/08/2021

    01/08/2021   Hearing Scheduling Activity
                 Pretrial Conference originally scheduled on 01/06/2021 at 1:30 PM was rescheduled to 02/03/2021 at 1:30 PM. Reason:
                 By Request.


    01/09/2021   Automated ENotice Issued to Parties
                 Order Issued ---- 1/8/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley Hearing Scheduling Activity ----
                 1/8/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    01/11/2021       Report Filed
                 Progress Report

                 Filed By:                        Grant County Probation
                 File Stamp:                      01/11/2021

    01/12/2021   Automated ENotice Issued to Parties
                 Report Filed ---- 1/11/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    01/15/2021   Report Filed
                 DOC progress report

                 File Stamp:                      01/15/2021

    01/16/2021   Automated ENotice Issued to Parties
                 Report Filed ---- 1/15/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    02/03/2021   Pretrial Conference
                 Session:
                             01/06/2021 1:30 PM, Rescheduled
                 Session:
                             02/03/2021 1:30 PM, Judicial Officer: Spitzer, Mark E
                 Comment:                         re sent mod
                 Result:                          Commenced and concluded

    02/03/2021   Administrative Event
                 Hearing set for March 5, 2021, at 9:30 a.m. via zoom.


    02/25/2021   Hearing Scheduling Activity
                 Modification Hearing scheduled for 03/05/2021 at 9:30 AM.


    02/26/2021   Automated ENotice Issued to Parties
                 Hearing Scheduling Activity ---- 2/25/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    03/02/2021       Correspondence to/from Court Filed
                 Review of Modification Request

                 Filed By:                        Grant County Probation
                 File Stamp:                      02/26/2021

    03/03/2021   Automated ENotice Issued to Parties
                 Correspondence to/from Court Filed ---- 3/2/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…          13/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                   Summary     01/22/25
                                                                           - MyCase                      Page 14 of 20 PageID
                                                             #: 2063
    03/05/2021   Modification Hearing
                 Session:
                            03/05/2021 9:30 AM, Judicial Officer: Spitzer, Mark E
                 Comment:                        via zoom
                 Result:                         Commenced and concluded

    04/19/2021       Order Granting Motion to Modify Sentence
                 Defendant's sentence under this cause is hereby suspended and upon completion of sentence in 27C01-0910-FA-232,
                 the Defendant is to participate in CTP and/or reentry court.

                 Order Signed:                   03/30/2021

    04/20/2021   Automated ENotice Issued to Parties
                 Order Granting Motion to Modify Sentence ---- 4/19/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    05/11/2021       Abstract of Judgment Sent to DOC

    05/19/2021       Findings and Order for Community Transition Program
                 Defendant to begin CTP, home detention, reentry court, etc on 5/24/21 and end 9/21/21. This cause to be transferred
                 to Superior Court 1 for reentry court.

                 Order Signed:                   05/19/2021

    05/19/2021   Clerk Administrative Event
                 CLERK TRANSFERRED CAUSE TO SUPERIOR COURT 1


    05/24/2021   Order of Acceptance into Re-Entry Court
                 Order Signed:                   05/24/2021

    05/26/2021       Order Issued
                 Order issued to release original birth certificate, state's exhibit 22, to Defendant. Circuit Court kept a copy

                 Order Signed:                   05/26/2021

    05/27/2021   Automated ENotice Issued to Parties
                 Order Issued ---- 5/26/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    06/04/2021       Document Filed
                 Participant agreement. er

                 File Stamp:                     06/02/2021

    06/04/2021       Conditions of Probation
                 Order Signed:                   06/04/2021

    06/04/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    06/05/2021   Automated ENotice Issued to Parties
                 Document Filed ---- 6/4/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    06/25/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    07/09/2021   Administrative Event
                 Defendant appeared for Reentry Court. er



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…        14/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD               Document 43-1   Filed
                                                                 Summary     01/22/25
                                                                         - MyCase                        Page 15 of 20 PageID
                                                           #: 2064
    07/14/2021       Motion Filed
                 Home Detention Violation Agreement

                 Filed By:                      Grant County Probation
                 File Stamp:                    07/14/2021

    07/15/2021   Automated ENotice Issued to Parties
                 Motion Filed ---- 7/14/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    08/06/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    08/13/2021   Administrative Event
                 Defendant appears for Reentry Court.


    09/17/2021   Administrative Event
                 Defendant appears for Reentry Court. er


    09/21/2021       Correspondence to/from Court Filed
                 Home Detention Completion Letter

                 Filed By:                      Grant County Probation
                 File Stamp:                    09/21/2021

    09/22/2021   Automated ENotice Issued to Parties
                 Correspondence to/from Court Filed ---- 9/21/2021 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    09/24/2021   Hearing Journal Entry
                 Defendant appears for Reentry Court


    10/29/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    12/03/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    12/03/2021   Administrative Event
                 Defendant appeared for Reentry Court. er


    01/14/2022   Administrative Event
                 Defendant appeared for Reentry Court. er


    01/28/2022   Administrative Event
                 Defendant appeared for Reentry Court. er


    02/25/2022   Administrative Event
                 Defendant appeared for Reentry Court. er


    05/06/2022       Document Filed
                 Agreement Modifying Conditions of Probation filed and approved. er

                 File Stamp:                    05/06/2022

    05/07/2022   Automated ENotice Issued to Parties
                 Document Filed ---- 5/6/2022 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…   15/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD                 Document 43-1   Filed
                                                                   Summary     01/22/25
                                                                           - MyCase                     Page 16 of 20 PageID
                                                             #: 2065
    12/28/2023       Petition Filed
                 Petition for Revocation of Probation. er

                 Filed By:                       Grant County Probation
                 File Stamp:                     12/28/2023

    12/28/2023   Warrant or Writ of Attmnt for the Body of a Person Issued
                 Bond set in the sum of $25,000.00/10% cash. er


    12/28/2023   Hearing Journal Entry
                 Parties appear. Defense waives initial hearing. The Court now recalls the warrant in this case and the Defendant is
                 ordered released on his own recognizance. er


    12/28/2023   Warrant or Writ of Attmnt for the Body of a Person Recalled
                 12-28-23


    12/28/2023   Hearing Scheduling Activity
                 Fact Finding Hearing scheduled for 05/20/2024 at 11:00 AM.


    12/29/2023   Automated ENotice Issued to Parties
                 Petition Filed ---- 12/28/2023 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley Hearing Scheduling Activity ----
                 12/28/2023 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    01/10/2024       Appearance Filed
                 Appearance

                 For Party:                      McMullen, Ryan Tyrone
                 File Stamp:                     01/09/2024

    01/11/2024   Automated ENotice Issued to Parties
                 Appearance Filed ---- 1/10/2024 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    03/11/2024       Document Filed
                 Addendum to: The Revocation of Probation. er

                 File Stamp:                     03/11/2024

    03/11/2024   Warrant or Writ of Attmnt for the Body of a Person Issued
                 Bond set in the sum of $25,000.00/10% cash. er


    03/11/2024   Warrant or Writ of Attmnt for the Body of a Person Issued

    03/12/2024   Automated ENotice Issued to Parties
                 Document Filed ---- 3/11/2024 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley


    03/14/2024   Warrant or Writ of Attmnt for the Body of a Person Served

    03/15/2024   Hearing Journal Entry
                 Probation Violation Initial Hearing held. er

                 Hearing Date:                   03/15/2024

    03/19/2024       Order on Initial Hearing
                 Order Signed:                   03/19/2024

    03/20/2024   Automated ENotice Issued to Parties
                 Order on Initial Hearing ---- 3/19/2024 : Grant County Probation;Jarred Lee Eib;Stacy Lynn Kelley

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…              16/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD        Document 43-1     Filed
                                                            Summary     01/22/25
                                                                    - MyCase                            Page 17 of 20 PageID
                                                       #: 2066
    05/20/2024       Motion to Withdraw Appearance Filed
                 MOTION OF WITHDRAWAL

                 Filed By:                        State of Indiana
                 File Stamp:                      05/19/2024

    05/20/2024   Hearing Scheduling Activity
                 Fact Finding Hearing originally scheduled on 05/20/2024 at 11:00 AM was rescheduled to 09/16/2024 at 11:00 AM.
                 Reason: By Request.


    05/21/2024   Automated ENotice Issued to Parties
                 Motion to Withdraw Appearance Filed ---- 5/20/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley
                 Hearing Scheduling Activity ---- 5/20/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    08/06/2024       Motion Filed
                 Motion for Bond Review Hearing

                 Filed By:                        McMullen, Ryan Tyrone
                 File Stamp:                      08/05/2024

    08/07/2024   Automated ENotice Issued to Parties
                 Motion Filed ---- 8/6/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    08/09/2024       Order Issued
                 Order Signed:                    08/07/2024

    08/09/2024   Hearing Scheduling Activity
                 Bail Review Hearing scheduled for 08/26/2024 at 8:30 AM.


    08/10/2024   Automated ENotice Issued to Parties
                 Order Issued ---- 8/9/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley Hearing Scheduling Activity ----
                 8/9/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    08/26/2024   Bail Review Hearing
                 Session:
                             08/26/2024 8:30 AM, Judicial Officer: Todd, Jeffrey D

    08/26/2024   Hearing Journal Entry
                 Bail review hearing held. Court takes this matter under advisement. er


    08/28/2024       Correspondence to/from Court Filed
                 Correspondence tendered by Defendant's grandmother. er

                 File Stamp:                      08/28/2024

    08/28/2024       Order Issued
                 Order Denying Motion for Bond Modification. er

                 Order Signed:                    08/27/2024

    08/29/2024   Automated ENotice Issued to Parties
                 Correspondence to/from Court Filed ---- 8/28/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley Order
                 Issued ---- 8/28/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…          17/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD       Document 43-1       Filed
                                                             Summary     01/22/25
                                                                     - MyCase                        Page 18 of 20 PageID
                                                        #: 2067
    08/30/2024       Correspondence to/from Court Filed
                 Correspondence tendered by Defendant. Court takes no action. er

                 File Stamp:                      08/30/2024

    08/31/2024   Automated ENotice Issued to Parties
                 Correspondence to/from Court Filed ---- 8/30/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    09/16/2024   Fact Finding Hearing
                 Session:
                             05/20/2024 11:00 AM, Rescheduled
                 Session:
                             09/16/2024 11:00 AM, Judicial Officer: Todd, Jeffrey D

    09/16/2024       Motion for Continuance Filed
                 Motion for Continuance

                 Filed By:                        McMullen, Ryan Tyrone
                 File Stamp:                      09/13/2024

    09/17/2024   Automated ENotice Issued to Parties
                 Motion for Continuance Filed ---- 9/16/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    09/19/2024       Order Granting Motion for Continuance
                 Order Signed:                    09/16/2024

    09/19/2024   Hearing Scheduling Activity
                 Fact Finding Hearing scheduled for 10/21/2024 at 11:00 AM.


    09/20/2024   Automated ENotice Issued to Parties
                 Order Granting Motion for Continuance ---- 9/19/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley
                 Hearing Scheduling Activity ---- 9/19/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    09/30/2024       Motion Filed
                 Motion to Set New Sentencing Hearing

                 Filed By:                        State of Indiana
                 File Stamp:                      09/30/2024

    10/01/2024   Automated ENotice Issued to Parties
                 Motion Filed ---- 9/30/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    10/02/2024       Order for Hearing
                 Order Signed:                    10/01/2024

    10/02/2024   Hearing Scheduling Activity
                 Sentencing Hearing scheduled for 10/21/2024 at 11:00 AM.


    10/03/2024   Automated ENotice Issued to Parties
                 Order for Hearing ---- 10/2/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley Hearing Scheduling Activity
                 ---- 10/2/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    10/21/2024   Fact Finding Hearing
                 Session:
                             10/21/2024 11:00 AM, Judicial Officer: Todd, Jeffrey D



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…       18/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD          Document 43-1   Filed
                                                            Summary     01/22/25
                                                                    - MyCase                          Page 19 of 20 PageID
                                                      #: 2068
    10/21/2024       Motion for Continuance Filed
                 Motion for Continuance

                 Filed By:                        McMullen, Ryan Tyrone
                 File Stamp:                      10/20/2024

    10/22/2024   Automated ENotice Issued to Parties
                 Motion for Continuance Filed ---- 10/21/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    10/31/2024       Order Granting Motion for Continuance
                 Order Signed:                    10/21/2024

    10/31/2024   Hearing Scheduling Activity
                 Sentencing Hearing originally scheduled on 10/21/2024 at 11:00 AM was rescheduled to 12/03/2024 at 1:30 PM.
                 Reason: By Request.


    11/01/2024   Automated ENotice Issued to Parties
                 Order Granting Motion for Continuance ---- 10/31/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley
                 Hearing Scheduling Activity ---- 10/31/2024 : Grant County Probation;Jamie L. Moore;Stacy Lynn Kelley


    12/03/2024   Sentencing Hearing
                 Session:
                             10/21/2024 11:00 AM, Rescheduled
                 Session:
                             12/03/2024 2:00 PM, Judicial Officer: Spitzer, Mark E
                 Result:                          Continued

    12/03/2024   Hearing Journal Entry
                 State appears. Attorney Kelly does not appear. Court telephoned Attorney Kelly and counsel indicated she does not
                 represent Defendant on the Habeas Corpus matter and may be withdrawing her appearance. Court appoints Bruce
                 Elliott and sets matter for resentencing on Habeas Corpus for December 27, 2024, at 9:00 a.m.

                 Judicial Officer:                Spitzer, Mark E

    12/03/2024   Hearing Scheduling Activity
                 Sentencing Hearing scheduled for 12/27/2024 at 9:00 AM.


    12/04/2024   Automated ENotice Issued to Parties
                 Hearing Scheduling Activity ---- 12/3/2024 : Grant County Probation;Jamie L. Moore;Bruce Neil Elliott;Stacy Lynn Kelley


    12/16/2024   Sentencing Hearing
                 Session:
                             12/27/2024 9:00 AM, Rescheduled
                 Session:
                             12/16/2024 10:00 AM, Judicial Officer: Spitzer, Mark E
                 Result:                          Commenced and concluded

    12/16/2024   Hearing Scheduling Activity
                 Sentencing Hearing originally scheduled on 12/27/2024 at 9:00 AM was rescheduled to 12/16/2024 at 10:00 AM.
                 Reason: Court's Own Motion.


    12/16/2024       Order of Confinement (Sentenced)
                 Judicial Officer:                Spitzer, Mark E
                 Order Signed:                    12/16/2024


https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…            19/20
           Case
1/22/25, 9:19 AM 2:19-cv-00356-JRS-MJD            Document 43-1   Filed
                                                              Summary     01/22/25
                                                                      - MyCase                             Page 20 of 20 PageID
                                                        #: 2069
    12/16/2024         Abstract of Judgment Sent to DOC

    12/17/2024     Automated ENotice Issued to Parties
                   Hearing Scheduling Activity ---- 12/16/2024 : Grant County Probation;Jamie L. Moore;Bruce Neil Elliott;Stacy Lynn Kelley


    12/17/2024         Motion to Withdraw Appearance Filed
                   Motion to Withdraw Appearance

                   Filed By:                          McMullen, Ryan Tyrone
                   File Stamp:                        12/16/2024

    12/18/2024     Automated ENotice Issued to Parties
                   Motion to Withdraw Appearance Filed ---- 12/17/2024 : Grant County Probation;Jamie L. Moore;Bruce Neil Elliott;Stacy
                   Lynn Kelley


    12/23/2024         Order Granting Motion to Withdraw Appearance
                   Order Signed:                      12/17/2024

    12/24/2024     Automated ENotice Issued to Parties
                   Order Granting Motion to Withdraw Appearance ---- 12/23/2024 : Grant County Probation;Jamie L. Moore;Bruce Neil
                   Elliott


   Financial Information
   * Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any
     balance due does not reflect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
     balances shown, please contact the Clerk’s Office.

   McMullen, Ryan Tyrone
   Defendant

   Balance Due (as of 01/22/2025)
   164.00

   Charge Summary
    Description                                                                 Amount              Credit              Payment
    Court Costs and Filing Fees                                                 169.00              0.00                5.00

   Transaction Summary
    Date                     Description                                        Amount
    05/04/2009               Transaction Assessment                             169.00
    08/12/2009               Counter Payment                                    (5.00)



                  This is not the official court record. Official records of court proceedings may only be obtained directly from
                  the court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6InlXYUhpYjNNNUFCTy14bms3WUJxS1FzM1YtaFpNUHpITkg1b…           20/20
